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                              IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                         )
                                                  )
                         Plaintiff,               )
                                                  )                  8:01CR222
                vs.                               )
                                                  )                  ORDER
WISDOM PAWNEE WEBSTER,                            )
                                                  )
                         Defendant.               )

        Defendant Wisdom Pawnee Webster appeared before the court on Monday, May 4, 2009 on a
Petition for Warrant or Summons for Offender Under Supervision [138]. The defendant was represented
by Attorney Jackie L. Barfield and the United States was represented by Assistant U.S. Attorney Michael
P. Norris. Through his counsel, the defendant waived his right to a probable cause hearing on the Report
pursuant to Fed. R. Crim. P. 32.1(a)(1). The government moved for detention. Through counsel, the
defendant declined to present any evidence on the issue of detention and otherwise waived a detention
hearing. Since it is the defendant’s burden under 18 U.S.C. § 3143 to establish by clear and convincing
evidence that he is neither a flight risk nor a danger to the community, the court finds the defendant has
failed to carry his burden and that he should be detained pending a dispositional hearing before Chief
Judge Bataillon.
        I find that the Report alleges probable cause and that the defendant should be held to answer for
a final dispositional hearing before Judge Bataillon.
        IT IS ORDERED:
        1.      A final dispositional hearing will be held before Judge Joseph F. Bataillon in Courtroom
No.3, Third Floor, Roman L. Hruska U.S. Courthouse, 111 South 18th Plaza, Omaha, Nebraska, on June
11, 2009 at 1:00 p.m. Defendant must be present in person.
        2       The defendant, Wisdom Pawnee Webster, is committed to the custody of the Attorney
General or his designated representative for confinement in a correctional facility;
        3.      The defendant shall be afforded a reasonable opportunity for private consultation with
defense counsel; and
        4.      Upon order of a United States court or upon request of an attorney for the government,
the person in charge of the corrections facility shall deliver defendant to the United States Marshal for the
purpose of an appearance in connection with a court proceeding.
        DATED this 5th day of May, 2009.

                                                          BY THE COURT:

                                                          s/ F. A. Gossett
                                                          United States Magistrate Judge
